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                                UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA


    RAYMOND L. HOYT, et al.,                       Case No. 15-cv-05422-VC
                 Plaintiffs,
                                                   ORDER DISMISSING CASE
           v.
                                                   Re: Dkt. Nos. 40, 41, 42
    OCWEN LOAN SERVICING, LLC, et al.,
                 Defendants.



         On May 17, 2016, the Court dismissed the plaintiffs’ claims against the two moving

defendants (Bank of America and Ocwen Loan Servicing) with leave to amend within 21 days. 1

Dkt. No. 40. The plaintiffs have not filed an amended complaint, even though the deadline for

doing so passed over two months ago. Accordingly, the Clerk of Court is directed to close the

case. The motions to dismiss for failure for to prosecute filed by Bank of America and Ocwen

Loan Servicing, Dkt. Nos. 41, 42, are denied as moot.
         IT IS SO ORDERED.

Dated: August 17, 2016
                                             ______________________________________
                                             VINCE CHHABRIA
                                             United States District Judge




1
    The remaining defendant, Western Progressive, was never served. See Dkt. No. 43.
